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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

DANIELLE FONTENOT,                               §
                                                 §
       Plaintiff,                                §
v.                                               §    CIV. A. NO. 4:21-CV-01178
                                                 §
COMMUNITY COFFEE COMPANY                         §
LLC,                                             §    JURY TRIAL DEMANDED
                                                 §
       Defendant.                                §

DEFENDANT’S RESPONSE TO PLAINTIFF’S OBJECTIONS TO THE MAGISTRATE
          JUDGE’S MEMORANDUM AND RECOMMENDATION

       Defendant Community Coffee Company, LLC (“Defendant”) files this Response to

Plaintiff Danielle Fontenot’s Objections to the Magistrate Judge’s Memorandum and

Recommendation (Doc. No. 22 and Doc. No. 21, respectively), and respectfully shows the Court

as follows:

       Plaintiff’s Objections have no merit and should be overruled. From the outset, Plaintiff

appears to conflate the applicable legal standards in this case by arguing that the Magistrate Judge

failed to apply the test in Smith v. Amedisys, Inc. Contrary to Plaintiff’s assertions, however, the

Magistrate Judge actually applied the same legal standard detailed in Smith. Specifically, the

Magistrate Judge’s Order stated that “the party asserting the defense of release is required to prove

the elements of a contract…Once the existence of a release is properly pleaded or established, the

burden shifts to the opposing party – Fontenot in this case – to allege facts that would support a

legal basis for setting aside the release.” Doc. No. 21, p. 4 (internal citations and quotations

omitted). Similarly, the Smith court held “[t]o determine whether there was a knowing and

voluntary waiver, the employer first bears the burden of establishing that its former employee

signed a release that addresses the claims at issue, received adequate consideration, and breached

the release. Then the burden shifts to the employee to demonstrate that the release was invalid


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because of fraud, duress, material mistake, or some other defense.” Smith, 298 F.3d at 441 (5th

Cir. 2002) (internal citations and quotations omitted). Plaintiff’s assertion that the Magistrate

Judge “erred” by not applying Smith is disingenuous and misses the mark.

        Likewise, Plaintiff’s claim that the Magistrate Judge failed to apply the “relevant factors

of the totality of the circumstances” test in Smith is also flawed. Plaintiff overlooks that the factors

under the totality of the circumstances test are “not exclusive and, and a court need not address

each of these six factors when determining whether a release was entered into knowingly and

voluntarily. Rather, these are simply six ‘relevant’ factors to consider under the totality of the

circumstances test.” Crow v. Am. Messaging Serv., L.L.C., No. 419CV00600SDJCAN, 2020 WL

6482420, at *7 (E.D. Tex. June 26, 2020), report and recommendation adopted in part, No. 4:19-

CV-600-SDJ, 2020 WL 5554558 (E.D. Tex. Sept. 17, 2020) (citing Hughes v. Grand Casinos,

Inc., No. 99-60123, 1999 WL 1068293, at *2 (5th Cir. Oct. 22, 1999)). Here, the Magistrate Judge

properly analyzed whether Plaintiff established a genuine issue of fact that the Separation

Agreement was invalid because of fraud, duress, mistake and/or unconscionability. Plaintiff has

not (and cannot) show that the Magistrate Judge failed to apply the correct legal standard.

        Finally, in applying the correct legal standard, the Magistrate Judge correctly found, as a

matter of law, that the summary judgment evidence did not raise a genuine issue of material fact

regarding Plaintiff’s contention that the alleged fraudulent representations by her managers

invalidated the release in the Separation Agreement. Plaintiff conveniently does not refute the

Magistrate Judge’s findings that support the final conclusion and recommendation, such as:

               The Separation Agreement contained a clear provision regarding the release of any

                and all claims related to Fontenot’s employment with Community Coffee.




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              The Separation Agreement itself also advised Fontenot that she could consult with

               an attorney before signing/executing it and that she had forty-five (45) days to make

               up her mind about whether to sign/execute it.

              The terms of the Separation Agreement, particularly paragraph 7, override any

               claims by Fontenot that she signed the Separation Agreement under duress and/or

               that she was fraudulently induced into signing/executing the Separation Agreement.

              To the extent Fontenot states in her Declaration that her managers told her she had

               to sign the Separation Agreement and had to do so in order to receive her final

               paycheck, Fontenot could not have justifiably relied on her managers statements in

               light of paragraph 7 of the Separation Agreement.

              Moreover, Fontenot’s economic position and financial stress does not establish the

               type of legal or economic duress that could invalidate the Separation Agreement.

Doc. No. 21, pp. 6, 8-9. Ultimately, Plaintiff’s Objections do not provide the factual or legal

support to sufficiently challenge the Magistrate Judge’s holdings that there is no genuine issue of

material fact on Plaintiff’s claim that she signed the Separation Agreement under duress, or was

fraudulently induced to sign/execute the Separation Agreement. As such, she has effectively

waived any such objections. E.g., Thomas v. Grundfos, CBS, No. 20-20505, 2021 WL 4693055,

at *1 (5th Cir. Oct. 7, 2021); Stancu v. Hyatt Corp./Hyatt Regency Dallas, 791 F. App’x 446, 449-

50 (5th Cir. 2019); Keelan v. Majesco Software, Inc., 407 F.3d 332, 340 (5th Cir. 2005); see also

Middaugh v. InterBank, 528 F. Supp. 3d 509, 526 n. 3 (N.D. Tex. 2021) (“[A] party who objects

to the magistrate judge's [FCR] waives legal arguments not made in the first instance before the

magistrate judge.”) (quoting Freeman v. Cnty. of Bexar, 142 F.3d 848, 852 (5th Cir. 1998)).




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       For the foregoing reasons, Defendant Community Coffee Company, LLC respectfully

requests that the Court overrule Plaintiff’s Objections to the Magistrate Judge’s Memorandum and

Recommendation.




                                                     Respectfully submitted,

                                                     OGLETREE, DEAKINS, NASH,
                                                      SMOAK & STEWART, P.C.

                                                     /s/ Devin S. Vasquez
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                                CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2022, the foregoing was electronically filed with the
Clerk of Court using the CM/ECF system, which will transmit a Notice of Electronic Filing to
counsel of record.

                                                     /s/ Devin S. Vasquez
                                                     Devin S. Vasquez




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